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DEREK SMITH LAW GROUP, PLLC
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              IN THE UNITED STATES DISTRICT FOR THE EASTERN
                         DISTRICT OF PENNSYLVANIA

__________________________________________
MARNIE O’BRIEN                             :
                                           :
                  Plaintiff                :
                                           :     Civil Action
      vs.                                  :
                                           :     No. 2:19-cv-06078-JMG
MIDDLE EASTERN FORUM,                      :
DANIEL PIPES (individually),               :
and                                        :
GREG ROMAN (individually)                  :
                                           :
                  Defendants               :
__________________________________________:




                               PLAINTIFF’S PRE-TRIAL
                                  MEMORANDUM
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        Erica A. Shikunov, an attorney duly admitted to practice law before the District Court of

the Eastern District of Pennsylvania hereby sets forth the following Pre-Trial Memorandum.

        I am an attorney with the Derek Smith Law Group PLLC, attorneys of record for the

Plaintiff herein. As such, I am fully familiar with the facts and circumstances of this matter based

on a review of the documentation contained in the file maintained by this office, which I believe

to be true.




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                                PRE-TRIAL MEMORANDUM

       Plaintiff Marnie O’Brien, by and through her attorneys, DEREK SMITH LAW GROUP,

PLLC, respectfully submit this Pre-Trial Memorandum.

                              I. NATURE AND BASIS OF ACTION

       This action is brought against all defendants as a Title VII sexual harassment claim as

well as a sexual harassment claim under the Pennsylvania Human Relations Commission.

Counter-Claim Plaintiff Gregg Roman has brought a common law counter claim for Abuse of

Process against Marnie O’Brien.

                                   II. STATEMENT OF FACTS


       While working for the Middle East Form, Marnie O’Brien was subjected to severe and

pervasive sexual harassment at the hands of Defendant Gregg Roman. While working for

Defendants Ms. O’Brien was sexually harassed herself through inappropriate sexual commentary

and discussion, leering, forced social interactions and observing her colleagues also being

sexually harassed. Plaintiff will show that Roman, knowing his behaviors were inappropriate,

pitted the other female employees against Ms. O’Brien, deliberately fostering a hostile work

environment, and also threatened severe repercussions if his conduct were ever reported. Further,

Roman deliberately fostered an environment of fear and paranoia with threats of camera

surveillance and easy access to employees’ personal devices. Plaintiff ultimately reported this

conduct to Defendant Pipes in a handwritten note, which demonstrates her fear of reprisal from

Roman. At all relevant times Roman was a proxy for the Middle East Forum and Defendants are

not entitled to a Farragher-Ellerth defense.

       Upon Plaintiff reporting the behaviors, Pipes held terse interviews with the involved

women which were completed in less than a day. He held an emergency staff meeting on a



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Saturday. All employees were required to sign non-disclosure agreements before attending the

meetings and Roman’s sister was present at the meeting. Following the meeting, Roman

maintained his rate of pay and title. He was relegated to work from home and some of his

responsibilities were redistributed. Within three months, his permissions and responsibilities

started to be given back to him, and Ms. O’Brien was required to work with him on an audit,

over her protest. Within six weeks of Roman resuming responsibilities, a new rumor was

circulated about Plaintiff’s sex life. Pipes declined to address the second rumor. Ultimately, Ms.

O’Brien could no longer withstand the pressure of the work environment and was forced to seek

employment elsewhere. That employment ultimately fell through due to the pandemic, but Ms.

O’Brien continued to seek employment elsewhere while also building her own business to

attempt to mitigate her losses.

       As to the counter-claim for abuse of process, Plaintiff intends to seek a Directed Verdict

of dismissal as Roman cannot meet his burden of proving malintent. Plaintiff will demonstrate

that after interviewing at the Kimmel Center she was informed she did not get the job and that

anonymous male caller had contacted her potential employer and reported that she sued all of her

previous employers for sexual harassment and that she was a drug user. Plaintiff did not get the

job and was not called to work with the recruiter again. Plaintiff filed a second lawsuit for

retaliation. Months later, her boyfriend admitted to making the calls in a filing with the Court.

Plaintiff agreed to dismiss the second complaint the next day, but Defendants refused to stipulate

to its dismissal. Plaintiff, through counsel, informed the Court of her consent to dismiss the

Complaint and it was ultimately dismissed. No discovery was taken, no disclosures prepared and

no pre-trial conference was held with regard to the second Complaint. Roman filed an Answer




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with Counter-claims, Plaintiff’s boyfriend admitted to making the calls in a Motion to Dismiss,

and Plaintiff agreed to withdraw the second Complaint.

       Of note, Roman filed a slew of counter-claims, none of which were supported by the

record. On the eve of Summary Judgment motions coming due, Roman agreed to dismiss the rest

of the Counter-claims after they had been fully litigated, with the exception of the Abuse of

Process claim. In so doing, Plaintiff will demonstrate that Roman engaged in the exact same

behaviors of which he accuses Plaintiff.

                                      III. LIST OF DAMAGES

           1. Compensatory Damages

       At the time of her constructive discharge Plaintiff was making $85,000.00 per year.

Following her discharge, the job she had procured fell through. Plaintiff has continued to seek

employment and worked on building her consulting business, making $32,000.00 following the

constructive discharge. Pro-rated for the few months of 2020 Ms. O’Brien continued to work for

Middle East Forum, her lost wages are $43,000.00. For 2021, through the date of trial, Ms.

O’Brien will have lost an additional $28,538.46, bringing her total back pay to $71,538.46. Ms.

O’Brien suffers losses of approximately $53,000.00 per year, despite appropriate mitigation

efforts. Ms. O’Brien seeks ten years of front pay damages at that rate, or $530,000.00. This

brings Ms. O’Brien’s total compensatory damages to $601,538.46.

           2. Emotional Damages

       Plaintiff has suffered severe emotional damages as a result of the sexual harassment she

endured with the Middle East Forum, but has not been able to afford any type of ongoing

treatment due to her separation. Further, Plaintiff’s expert witness has detailed in her report that

the discrimination and harassment that Plaintiff endured throughout her employment with




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Defendants has been a significant contributing factor in her medical diagnosis. As a result,

Plaintiff is seeking $3,000,000 in emotional damages at trial. Plaintiff would note that while she

is aware that her Title VII claims cap her damages, her continuing violations claims under the

Pennsylvania Human Relations Act do not cap her Emotional damages.

           3. Punitive Damages

       Plaintiff seeks an award of nine times the award of compensatory damages pursuant to

BMW of North America, Inc. v. Gore, 517 U.S. 559 (1996).

           4. Attorneys’ Fees

   Plaintiff is seeking attorneys’ fees at the time of trial. At the time of trial, attorneys’ fees

could be more than $750,000 given the length of litigation and the amount of time put in by

Counsel. Plaintiff reserves the right to amend this fee as the litigation progresses.

                                         IV. WITNESS LIST

   Plaintiff intends upon calling the following witnesses, all of whom were disclosed to Counsel

well before the submission of this memorandum. Plaintiff reserves the right to call any witness

listed on Defendants’ witness list and to not call anyone on her own witness list. The following

witnesses are not necessarily listed in the order in which they will be called to testify.:

           1. Marnie O’Brien (Plaintiff), may be contacted through counsel.

           2. Matthew Ebert (Plaintiff’s boyfriend and previous defendant), contact

           information previously provided to Opposing Counsel.

           3. Caitriona Brady (Plaintiff’s colleague and eyewitness to sexual harassment),

           may be contacted through her counsel, Seth Carson of Derek Smith Law Group

           PLLC.




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           4. Lisa Barbounis (Plaintiff’s colleague and eyewitness to sexual harassment), may

           be contacted through her counsel, Seth Carson of Derek Smith Law Group PLLC.

           5. Patricia McNulty (Plaintiff’s colleague and eyewitness to sexual harassment),

           may be contacted through her counsel, Seth Carson of Derek Smith Law Group

           PLLC.

           6. Dr. Kendra Kubala, (Plaintiff’s expert witness), may be contacted through

           counsel.

           7. Gregg Roman, (Defendant).

           8. Daniel Pipes, (Defendant).


                               V. STIPULATIONS OF COUNSEL

       Plaintiff hereby attaches a list of Stipulations to this Pre-Trial Memorandum as Exhibit A.

Counsel for the Parties continue to work together to arrive at additional Stipulations and should

such efforts become successful the Parties intend to amend Exhibit A accordingly to reflect

additional Stipulations.

                           VI. EXHIBITS TO BE PRESENTED AT TRIAL

       Plaintiff hereby provides a schedule of all exhibits expected to be offered at trial annexed

hereto as “Exhibit B.” Plaintiff reserves the right to use additional records and exhibits as

impeachment evidence during cross examination.


                             VII.   STATEMENTS OF OBJECTION

       1. Admissibility of Exhibits Based on Authenticity

       The Parties do hereby stipulate to the Authenticity of each other’s Exhibits.




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       2. Admissibility of Any Evidence Expected to be Offered for any Reason (except

           Relevancy)

       Plaintiff maintains relevancy objections but based upon the Court’s Rules and Procedures

saves those objections to be argued at a later time. Without waiving said objections Plaintiff

presents the following objections to the presented exhibits.

       a. DX 115

              i.   Plaintiff objects under Rule 408. This exhibit contains statements between two

                   non-party witnesses discussing damages in their respective cases and is

                   substantially more prejudicial than probative. The conversation does not

                   involve Plaintiff.

             ii.   Plaintiff further objects as this exhibit was produced after discovery closed

                   and was not made available prior to the witnesses’ respective depositions.

                   Given the late production the exhibit should not be permitted.

            iii.   Plaintiff objects under 802 and 805 as this exhibit contains hearsay and

                   hearsay within hearsay statements offered for the truth of the matter, which

                   cannot be cured.

            iv.    Finally, Plaintiff objects under Rule 608(b) as Defendants are attempting to

                   use a specific instance of conduct to form the Jury’s opinion about the

                   witness.

             v.    Plaintiff reserves Article IV objections to this exhibit.

       b. DX 116

              i.   Plaintiff objects under Rule 408. This exhibit contains statements between two

                   non-party witnesses discussing their views about working for a Jewish




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          organization and general work place complaints and is substantially more

          prejudicial than probative. The conversation does not involve Plaintiff.

    ii.   Plaintiff further objects as this exhibit was produced after discovery closed

          and was not made available prior to the witnesses’ respective depositions.

          Given the late production the exhibit should not be permitted.

   iii.   Plaintiff objects under 802 and 805 as this exhibit contains hearsay and

          hearsay within hearsay statements offered for the truth of the matter, which

          cannot be cured.

   iv.      Plaintiff objects under Rule 608(b) as Defendants are attempting to use a

          specific instance of conduct to form the Jury’s opinion about the witness,

          specifically, statements about working for a Jewish organization.

    v.    Plaintiff objects as the messages are incomplete and appear to have been cut

          off.

   vi.    Plaintiff reserves Article IV objections to this exhibit.

c. DX 118

     i.   Plaintiff objects and will file a formal Motion in Limine regarding this exhibit.

    ii.   Plaintiff objects under Rule 408 as this is a recording of an argument between

          Plaintiff and another witness which has nothing to do with the case. The

          contents of the argument is substantially more prejudicial than probative.

   iii.   The recording was taken in Philadelphia, PA illegally and without Plaintiff’s

          consent and is inadmissible.




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   iv.    Plaintiff objects under Rule 608(b) as Defendants are attempting to use a

          specific instance of conduct to form the Jury’s opinion about the witness,

          specifically, the argument itself.

    v.    Plaintiff objects under 802 and 805 as this exhibit contains hearsay and

          hearsay within hearsay statements offered for the truth of the matter, which

          cannot be cured.

   vi.    Plaintiff reserves Article IV objections to this exhibit.

d. DX 119

     i.   Plaintiff will file a Motion in Limine regarding this exhibit.

    ii.   Plaintiff objects under Rule 408 as this recording contains statements about

          unidentified and unnamed witnesses and contains various statements about

          those unnamed witnesses sex lives, drug use and alleged decision making

          regarding entering litigation. Plaintiff, nor any specific witness is named in the

          recording. The probative value is substantially outweighed by its prejudice to

          Plaintiff.

   iii.   The recording was taken after the caller stated twice that the recipient of the

          call did not have his permission to record the call.

   iv.    Plaintiff objects under Rule 608(b) as Defendants are attempting to use a

          specific instance of conduct to form the Jury’s opinion about several

          witnesses, specifically, the victims of Defendant Roman’s sexual harassment,

          despite the fact that none of them are named in the recording.




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                 v.    Plaintiff objects under 802 and 805 as this exhibit contains hearsay and

                       hearsay within hearsay statements offered for the truth of the matter, which

                       cannot be cured.

                 vi.   Plaintiff reserves Article IV objections to this exhibit.

            e. Plaintiff objects to any and all exhibits that were produced after the close of

               discovery.

            3. The Adequacy of the Qualifications of an Expert Witness Expected to Testify

            Plaintiff does not object to the qualifications of Dr. Reed insofar as to preclude him from

testifying. However, Plaintiff does not stipulate to his qualifications and observes the right to

question is qualifications upon voir dire prior to his testimony. Plaintiff further reserves the right

to inquire about Dr. Reed’s practice and qualifications as it goes to his credibility during the time

of trial.

            4. The Admissibility of any Opinion Testimony from Lay Witnesses Pursuant to

               Federal Rule of Evidence 701

            a. Plaintiff objects to any Defendant mentioning, referencing, or opining regarding the

               mental state, thoughts, motivations, emotions, or mental health status or mental or

               physical medical diagnosis of Plaintiff or any other witness. This is especially

               relevant to the counter-claim. During his deposition testimony Defendant Roman

               repeatedly opined as to the mental state/status of several witnesses, mental health or

               addiction diagnoses of several witnesses and as to what the internal thought processes

               of several witnesses must have been. None of the Defendants in this matter maintain a

               medical or psychological degree and such testimony should be prohibited.




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       b. Plaintiff objects to Defendant Roman offering any opinion testimony as to journalistic

           standards as he maintains no journalism degree.


    VIII. DEPOSITION TESTIMONY INTENDED TO BE OFFERED DURING CASE
                                  IN CHIEF

   Plaintiff does not intend upon offering any deposition testimony during her case in chief.

Plaintiff reserves the right to use deposition transcripts or video to impeach any witness. Further,

Plaintiff would note that as mentioned above, Counsel for the parties are endeavoring to reach

additional Stipulations, which may include the reading or playing of deposition testimony with

designations from the transcript being made by both parties in lieu of inconveniencing certain

witnesses and to streamline the time needed at trial.


    IX. STATEMENT OF IMPORTANT LEGAL ISSUES UPON WHICH THE COURT
                      WILL NEED TO RULE BEFORE TRIAL

           a. Defendants are Precluded from Presenting a Farragher-Ellerth Defense as Gregg
              Roman is a Proxy for the Middle East Forum

       To prevail in her Title VII hostile work environment suit, Plaintiff, Marnie O’Brien must

establish the prima facie elements promulgated by the Third Circuit: (1) she suffered intentional

discrimination because of her gender; (2) the discrimination was pervasive and regular; (3) the

discrimination detrimentally affected her; (4) the discrimination would detrimentally affect a

reasonable person of the same sex in that position; (5) the existence of respondeat superior

liability. See Abramson v. William Patterson College of New Jersey, 260 F.3d 265, 276–77 (3d

Cir.2001). (quoting Kunin v. Sears Roebuck & Co., 175 F.3d 289, 293 (3d Cir.1999) (citing

Andrews v. City of Philadelphia, 895 F.2d 1469, 1482 (3d Cir.1990)). See also (Third Circuit

Jury Instructions - 5.1.4 Harassment — Hostile Work Environment).




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        In cases in which the harasser is a “supervisor,” and the supervisor’s harassment

culminates in a tangible employment action, the employer is strictly liable. Burlington

Industries, Inc. v. Ellerth, 524 U.S. 742, 761 (1998). If no tangible employment action is taken,

some employers may escape liability by establishing, as an affirmative defense, that (1) the

employer exercised reasonable care to prevent and correct any harassing behavior and (2) that

the plaintiff unreasonably failed to take advantage of the preventive or corrective opportunities

that the employer provided. Faragher v. Boca Raton, 524 U.S. 775, 807 (1998); Ellerth, supra, at

765. However, there is a situation in which an employer may not use the affirmative defense,

even if it establishes both prongs of the test and the victim does not suffer a tangible employment

action. This occurs when the harassing employee is a proxy of the employer. The Supreme

Court acknowledged this fact in both Faragher and Ellerth by referring to proxy liability in

different contexts.

       In Boca Roton v. Farragher, the Court held, “Nor was it exceptional that standards for

binding the employer were not in issue in Harris v. Forklift Systems, Inc. In that case of

discrimination by hostile environment, the individual charged with creating the abusive

atmosphere was the president of the corporate employer . . . who was indisputably within that

class of an employer organization’s officials who may be treated as the organization’s proxy.” In

Burlington Industries Inc. v. Ellerth, the Court held, “[s]ubsection (a) addresses direct liability,

where the employer acts with tortious intent, and indirect liability, where the agent’s high rank in

the company makes him or her the employer’s alter ego.” The Court went on to note that the

parties did not dispute that the harasser’s high rank imputes liability under this principle. Id. In

addressing the Supreme Court’s holdings in Farragher and Ellerth, the Second Circuit Court of

Appeals in Townsend v. Benjamin Enterprises, Inc., held that “[e]very Court of Appeals to have




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considered this issue has held that the Faragher/Ellerth affirmative defense is unavailable when

the supervisor in question is the employer’s proxy or alter ego.” Townsend v. Benjamin Enters.,

Inc., 679 F.3d 41, 52 (2d Cir. 2012). Many other courts have come to the same conclusion. E.g.,

Ackel v. Nat’l Commc’ns, Inc., 339 F.3d 376, 383 (5th Cir. 2003) (“[T]he employer is

vicariously liable for its employees activities in two types of situations: (1) there is a tangible

employment action or (2) the harassing employee is a proxy for the employer.”); Johnson v.

West, 218 F.3d 725, 730 (7th Cir. 2000) (“Vicarious liability automatically applies when the

harassing supervisor is . . . ‘indisputably within that class of an employer organization’s officials

who may be treated as the organization’s proxy . . . .’” (quoting Faragher, 524 U.S. at 789));

Durham Life Ins. Co. v. Evans, 166 F.3d 139, 152 n.8 (3d Cir. 1999); cf. Passantino v. Johnson

& Johnson Consumer Prods., Inc., 212 F.3d 493, 517 (9th Cir. 2000) (“Thus, the [affirmative]

defense remains inapplicable as a defense to punitive damages when the corporate officers who

engage in illegal conduct are sufficiently senior to be considered proxies for the company.”).

       Due to Defendant, Gregg Roman’s position as Corporate Officer, member of the

Executive Committee, and Director of The Middle East Forum (“MEF”), Defendants should not

be permitted to present the Farragher-Ellerth affirmative defense at trial.

       The proxy exception to the Faragher-Ellerth affirmative defense is required when the

harassing supervisor holds a sufficiently high position in the management hierarchy of the

company for his actions to be imputed automatically to the employer. Faragher, supra at 790,

citing Torres v. Pisano, 116 F.3d 625 (2nd Cir., 1997). In cases where the harasser is the

company owner, president, proprietor, partner or corporate officer, an employee need not prove

respondeat superior liability, or the propriety of holding an employer liable. Faragher, supra




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at 789-90. The Ellerth Court referred to this as the alter-ego theory of liability, wherein the

agent’s high rank within the company makes him the employer's alter ego. Ellerth, supra, at 758.

       At all times relevant to this case, Defendant Roman was the Director of the Middle East

Forum, the Chief Operating Officer of the Middle East Forum, and the Corporate Secretary, and

a Member of the Board of Directors for the Middle East Forum. Each one of these executive

level, leadership positions is independently sufficient to satisfy the proxy liability standard;

however, this standard should also be applied because Gregg Roman was an integral and

irreplaceable policy maker within the Middle East Forum Organization. See Middle East Forum

Website – list of corporate officers attached as Exhibit “C”.

       The Middle East Forum is a non-profit organization that is managed and maintained by

individuals who hold various roles and titles. Defendant, Daniel Pipes, is the President, a

member of the Board, a member of the Executive Committee, and Corporate Officer. Defendant,

Gregg Roman is the Director, a member of the Board, a member of the Executive Committee,

and a Corporate Officer. Importantly, Defendant, Gregg Roman, as the Director of Middle East

Forum, the Corporate Secretary, and member of the Executive Committee attends all high-level

meetings where policy decisions are decided.

       As Director of MEF, Gregg Roman holds the number-two ranking position within the

Organization, second only to President, Daniel Pipes. But Daniel Pipes employs a hands-off

approach and relies heavily upon Defendant, Gregg Roman to develop, implement, monitor, and

maintain MEF policies, procedures and protocols.       Even after several women reported severe

and pervasive discrimination and harassment in the workplace in November 2018, Defendant,

Gregg Roman’s executive level position within the organization never changed. Defendant,

Gregg Roman remained the Corporate Secretary and member of the Executive Committee. See




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Daniel Pipes’ Email regarding new, interim terms for your employment at the Middle East

Forum Exhibit “D”; See also Deposition of Daniel Pipes. Defendant, Daniel Pipes explained the

reason why Defendant, Greg Roman remained a high-level leader and decision maker within the

organization in a text communication to Matthew Benett sent in January 2019.

        Bennett:      20:53 If l did what gregg did, would I still be employed?

        DP:           20:55 There are two main reasons he is still employed. 1. The
                      outside world does not appreciate drama. 2. He has skills that we
                      need now. Were he suddenly gone, we'd be in trouble.

        Text communication between Daniel Pipes and Matthew Bennet attached and marked
        Plaintiff’s Exhibit “E”.


        Defendant, Gregg Roman is held out publicly both in media appearances and to donors as

a face of the Middle East Forum.        Each one of his executive level, leadership positions

independently supports the Alter-Ego theory of liability.      Taken together there can be no

reasonable dispute that Defendants should be held strictly liable for the actions of Defendant,

Gregg Roman’s s unlawful sexually harassing conduct and comments. Simply put, this means

that Defendants should not be permitted to present the affirmative defenses promulgated in

Faragher v. Boca Raton and Burlington Industries, Inc. v. Ellerth. Defendant Roman’s repeated

targeting of MEF’s female employees is thus imputed to the organization.

        A ruling from the Court on this particular issue changes the jury instructions immensely,

as well as what evidence is permissible and as such the parties require a ruling from the Court on

this issue.




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                                 X. TIME NEEDED FOR TRIAL

       Ms. O’Brien anticipates that trial will take four to five days, inclusive of all witnesses. At

its lengthiest, Plaintiff does not foresee trial proceeding through August 6, 2021 and even that

seems unlikely.




DATED: July 19, 2021
                                              DEREK SMITH LAW GROUP, PLLC


                                              _/s/ Erica A. Shikunov_____________
                                              Erica A. Shikunov, Esq.
                                              Attorneys for Plaintiff
                                              1835 Market Street, Ste. 2950
                                              Philadelphia, PA 19103
                                              (215) 391-4790


TO:    Defendants’ counsel
       Molly M. DiBianca, Esq.
       Attorney for Defendants
       824 N. Market Street, Ste. 710
       Wilmington, DE 19806




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   EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

 MARNIE O’BRIEN,                                   )
                                                   )
                                     Plaintiff,    )
                                                   )
                        v.                         )
                                                   )
 MIDDLE EAST FORUM,                                )
 DANIEL PIPES (individually), and                  )
 GREGG ROMAN (individually),                       ) C.A. No. 19-06078 JMG
                                                   )
                                  Defendants.      )
                                                   )
 GREGG ROMAN,                                      )
                                                   )
                       Counterclaim Plaintiff,     )
                                                   )
                        v.                         )
                                                   )
 MARNIE O’BRIEN,                                   )
                                                   )
                     Counterclaim Defendant,       )


                                EXCLUSIONARY STIPULATIONS

                The parties have stipulated and agreed that the following evidence shall be

excluded at trial:

        1. Any reference to or mention of Daniel Pipes’ personal life, marriage, divorce, or

personal romantic relationships

        2. Any reference to or mention of settlement discussions in this or any other case.

        3. Any reference to or mention of Plaintiff’s sexually transmitted disease.

        4. Any reference to or mention of the EEOC determination, dismissal or notice of rights.

        5. Any reference to or mention of MEF’s insurance.

                              [Remainder of page left blank intentionally.]




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                CLARK HILL PLC                 DEREK SMITH LAW GROUP, PLLC

 /s/ Jakob Williams, Esq.                   /s/ Erica A. Shikunov, Esq.
 Jakob Williams, Esq. (PA Bar No. 329359)   Erica A. Shikunov, Esq. (PA No. 316841)
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 Philadelphia, PA 19103                     P: (215) 391-4790
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 Jfwilliams@clarkhill.com
                                            Attorneys for Plaintiff
 ~of counsel~                               Dated:   July 9, 2021
 Margaret M. DiBianca, Esq. (DE No. 4539)
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 Admitted Pro Hac Vice
 Wilmington, DE 19801
 P: (302) 250-4748
 mdibianca@clarkhill.com

 Attorneys for Defendant
 Dated:        July 9, 2021




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   EXHIBIT B
                             Case 2:19-cv-06078-JMG Document 111 Filed 07/19/21 Page 22 of 37


PX   Date                Description                                                        Bates_beg    Bates-end
 1   N/A                 Telegram - "Moment of Catharsis"                                   D6010        D6010
 2   6/4/2019            Pipes' Email - "This tension is the bane of my life"               D38          D40
 3   5/7/2019            Roman's Email - "I'm ready to work with her"                       D4832        D4832
 4   6/1/2019-6/5/2019   Emails re: Audit                                                   D38          D44
 5   6/5/2019            Emails re: Audit                                                   D1318        D1318
 6   11/3/2018           Memo re: NDA                                                       D1331        D1331
 7   4/28/2019           Email re add'tl harassment by Roman                                D1322        D1322
 8   N/A                 Draft Memo Re: Gregg in Office                                     D968         D969
 9   4/23/2019           McNulty email to Pipes                                             D972         D972
10   11/1/2018           Plaintiff's handwritten notes                                      O'Brien561   O'Brien565
11   10/12/2018          Telegrams between Pipes and Bennet                                 D6002        D6096
12   N/A                 Telegrams between Pipes and Plainitff                              D3665        D3694
13   11/15/2018          Plaintiff to Pipes Emails/Telegrams: Insurance w/o Authorization   D2406        D2408
14   11/15/2018          Plaintiff to Pipes Emails/Telegrams: Insurance w/o Authorization   D3320        D3322
15   11/15/2018          Plaintiff to Pipes Emails/Telegrams: Insurance w/o Authorization   D3301        D3302
16   11/15/2018          Plaintiff to Pipes Emails/Telegrams: Insurance w/o Authorization   D3670        D3671
17   10/30/2018          Bennett's response to 10/30                                        D3919        D3920
18   11/4/2018           Email Barbounis to Pipes re: Allegations and Consequences          D977         D979
19   11/5/2018           Barbounis email to Pipes re Allegations and Consequences           D1113        D1114
20   11/4/2018           Plaintiff email to Pipes: Allegations and Consequences             D1175        D1177
21   11/2/2018           EMS and Memo re: Allegations and Consequences                      D1           D1
22   11/4/2018           Pipes to Fink email: Plaintiff's allegations                       D995         D997
23   8/22/2019           Email to Plaintiff re: Roman's responsibilities                    D1278        D1280
24   4/23/2019           McNulty email to Pipes - complaining of Greg                       D21          D23
25   6/10/2019           McNulty email to Pipes - complaining of Greg                       D26          D28
27   5/10/2019           McNulty to Pipes re "Thoughts on Gregg's Position"                 D37          D37
28   5/10/2019           Pipes to McNulty re "Thoughts on Gregg's Position"                 D65          D65
29   10/31/2018          Plaintiff's text messages to Barbounis                             D9905        D100005
30   1/14/2020           Pipes emails to Plaintiff re Audit                                 D4498        D4498
31   11/5/2019           Pipes and Plaintiff email exchange re payment processed            D4517        D4517
32   11/3/2018           Memo - Emergency Admin Staff meeting (11.5.18)                     D45          D48
33   3/11/2019           Plaintiff email to Fink re Greg's return                           D57          D58
34   2/8/2018            Gary Gambill Email re: Resignation                                 D5209        D5209
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35   N/A          Texts from Barbounis to Plaintiff re Israel trip               D9182   D9182
36   N/A          Texts from Barbounis to Plaintiff re Israel trip               D9186   D9186
37   N/A          Texts from Barbounis to Plaintiff re Israel trip               D9197   D9197
38   N/A          Texts from Barbounis to Plaintiff re Israel trip               D9199   D9199
39   N/A          Texts from Barbounis to Plaintiff re Israel trip               D9201   D9201
40   N/A          Texts from Barbounis to Plaintiff re Israel trip               D9203   D9203
41   N/A          Text from Bennet to Pipes                                      D9227   D9227
42   N/A          Text from Bennet to Pipes                                      D9229   D9229
43   N/A          Text from Bennet to Pipes                                      D9231   D9231
44   8/26/2019    Tweet from Pipes                                               D9336   D9336
45   N/A          Tweet from Pipes                                               D9338   D9338
46   11/4/2018    Email from McNulty                                             D2      D2
47   11/4/2018    Email from Pipes                                               D3      D4
48   11/4/2018    Emails between Barbounis and Pipes                             D5      D7
49   11/4/2018    Emails between Pipes and McNulty                               D8      D10
50   11/4/2018    Emails between Plaintiff and Pipes                             D11     D12
51   11/4/2018    Email from Pipes to Everyone re NDA                            D13     D13
52   11/4/2018    Emails from Pipes to Plaintiff                                 D14     D14
53   11/6/2018    Email from Pipes to Fink re New Terms of Employment            D16     D16
54   3/27/2019    Emails between McNulty and Fink re 3/5 Meeting                 D17     D18
55   4/17/2019    Emails between Pipes and Barbounis re retaliation              D19     D20
56   6/5/2019     Email from Pipes to Plaintiff - Roman "irreplacable"           D25     D25
57   4/23/2019    McNulty email to Pipes re: Phone call w/ Matt Bennett          D31     D31
58   4/25/2019    Emails between McNulty and Pipes                               D32     D35
59   4/28/2019    Email from Pipes to Brady & Plaintiff                          D36     D36
60   11/4/2018    Letter from Pipes to Barbounis re: Roman sexual harassment     D49     D49
61   11/4/2018    Email from Pipes to McNulty re: Allegations and Consequences   D53     D53
62   3/11/2019    Email from McNulty to Fink re: Roman probationary status       D55     D55
63   N/A          List of Bonuses                                                D64     D64
64   10/11/2019   Brady's letter of resignation                                  D68     D69
65   N/A          MEF - Bylaws                                                   D70     D74
66   N/A          MEF - Articles of Incorporation                                D76     D89
67   1/2/2014     Email to Fink re: Increase to salary                           D143    D143
68   N/A          MEF - Corporate Heirachy                                       D144    D144
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 69   May 2017 & Nov 2018Brady's Confidentiality Agmts                                             D151    D156
 70   Nov-18             Delaney Yonchek Confidentiality Agmts                                     D188    D190
 71   6/10/2019          Emails between McNulty Pipes                                              D970    D970
 72   4/24/2019          Emails between McNulty and Plaintiffs                                     D971    D971
 73   3/14/2019          Email between McNulty and Pipes                                           D973    D973
 74   3/8/2019           Email re Bennet's offboarding                                             D974    D975
 75   N/A                Barbounis Text Sceenshots                                                 D980    D981
 76   11/5/2018          Bennet's Confidentiality Agreement                                        D982    D984
 77   11/4/2018          Barbounis' email signing Confidentiality Amgt and NDA                     D985    D988
 78   8/7/2019           Barbounis Letter of Resignation                                           D989    D990
 79   12/1/2018          Email Plaintiff to Pipes re: Not reporting to Bennet                      D998    D998
 80   11/21/2018         Email Pipes - assigning Fink director                                     D999    D1000
 81   11/5/2018          Barbounis and Pipes re: Allegations and Consequences                      D1010   D1015
 82   4/23/2019          Barbounis re: Complaints against Greg                                     D1103   D1103
 83   2/4/2020           Email Pipes and Marnie - re Check                                         D1105   D1105
 84   6/28/2019          Email from Pipes to Marnie re: 5 women who started suit                   D1106   D1106
 85   3/13/2019          Pipes' email to Roman re: Change in the terms and condition               D1108   D1111
 86   11/4/2018          Barbounis Emails to Pipes w/ all attachments                              D1119   D1130
 87   3/14/2019          Email Pipes to McNulty                                                    D1132   D1132
 88   Nov-18             Emails between Barbounis and Pipes w/ attachments                         D1140   D1155
 89   4/23/2019          Pipes and Plaintiff email                                                 D1156   D1156
 90   2/28/2019          Plaintiff's email to Pipes                                                D1165   D1167
 91   9/13/2019          McNulty's Letter of Resignation                                           D1323   D1324
 92   6/5/2019           Email between Plaintiff and Pipes re Roman                                D1318   D1320
 93   6/5/2019           Email between Plaintiff and Pipes re Roman                                D1294   D1297
 94   Nov-18             Conditions of Roman's employment                                          D1201   D1209

Plaintiff reserves the right to use any and all exhibits produced in connection with Defendants'
Production of Documents and Plaintiff's Production of Documents exchanged during and
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   EXHIBIT E
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   Matthew Bennett
   Sony
   20:53
   But it's weighing on me
   20:53
   Ifl did what gregg did, would I still be employed?

   DP

   20:55
   Daniel Pipes
   There are two main reasons he is still employed.

   1. The outside world does not appreciate drama.

   2. He has skills that we need now. Were he suddenly gone, we'd be in trouble.

   MB

   20:56
   Matthew Bennett
   But between us
   20:57
   Just you and I
   20:57
   Do you want him to develop your legacy?

   DP

   21:00
   Daniel Pipes
   no, that ended two months ago. He's doing a job.

   MB

   21:02
   Matthew Bennett
   You told me not to get emotional about donors and donations
   21:03
   I watched and read as you resigned from the GOP and inspired me to adopt your vision of donors and fundraising
   21:03
   Adding to the inspiration from your commentary article outlining ivp
   21:04
   I am most certainly not emotional about those things; what I am emotional about is you and MEF

   DP

   21:05
   Daniel Pipes
   you make me smile. My view is that if do a good job and stay true to ourselves, things will work out. And, we're not doing badly.
   21:06
   ot - is Marc Epstein on the board of governors?

   MB

   21:06
   Matthew Bennett
   I want to do more than make you smile
   21:07
   I'm offering the next 30 years of my life to take your life's work into perpetuity
   21:07
   To dedicate myself to it and live, breathe and sleep it
   21:08
   All the articles you ever wrote, it only took two to capture me forever
   21:08
   Your brilliance with the ivp commentary article and integrity with resigning from the GOP
   21:09
   That's why I'm still here and pleading with you to entrust me with your legacy

   DP

   21:54
   Daniel Pipes
   Well, thank you for the kind words and the dedication. I am ready to give you more responsibility - have already - and you face no limits. Prove what you can do.
   Be creative.




CONFIDENTIAL                                                                                                                                                   D0006068
